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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STALEY, et al.,                                   Case No. 19-cv-02573-EMC
                                   8                    Plaintiffs,                        FILED UNDER SEAL
                                   9             v.                                        ORDER GRANTING DEFENDANTS’
                                                                                           MOTION TO DISMISS BLUE CROSS
                                  10     GILEAD SCIENCES, INC., et al.,                    BLUE SHIELD ASSOCIATION
                                  11                    Defendants.                        Docket No. 1122
                                  12
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                                  14          Previously, the Court denied Gilead and Janssen’s motion to dismiss Blue Cross Blue
                                  15   Shield Association (“BCBSA”) for lack of standing. See Docket No. 948 (order, filed on
                                  16   3/14/2022). BCBSA is part of the class action brought by the End Purchaser Plaintiffs (“EPPs”).
                                  17          Now pending before the Court is Gilead and Janssen’s renewed motion to dismiss BCBSA
                                  18   for lack of standing. Gilead/Janssen argue that, with the benefit of more discovery, it is now clear
                                  19   that BCBSA does not have standing. Having considered the parties’ briefs and accompanying
                                  20   submissions, as well as the supplemental briefing ordered by the Court, the Court hereby
                                  21   GRANTS the motion to dismiss.
                                  22                       I.         FACTUAL & PROCEDURAL BACKGROUND
                                  23          In the Federal Employees Health Benefits Act (“FEHBA”),
                                  24                  Congress “establishe[d] a comprehensive program of health
                                                      insurance for federal employees.” Congress envisioned the creation
                                  25                  of a system whereby “OPM [the Office of Personnel Management]
                                                      is ‘responsible for the overall administration of the program while
                                  26                  sharing the day-to-day operating responsibility with the employing
                                                      agencies and the insurance carriers.’” FEHBA “authorized [OPM]
                                  27                  to contract with private carriers for federal employees’ health
                                                      insurance” . . . .
                                  28
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                                   1   Goncalves v. Rady Children’s Hosp. San Diego, 865 F.3d 1237, 1245-46 (9th Cir. 2017); see also

                                   2   Jacks v. Meridian Res. Co., LLC, 701 F.3d 1224, 1227 (8th Cir. 2012) (stating that the FEHBA

                                   3   “establishes a comprehensive program of health insurance for federal employees and charges the

                                   4   [OPM] with negotiating contracts with private insurance carriers to provide an array of health-care

                                   5   plans”).

                                   6           OPM has entered into such a contract with BCBSA. In the contract, BCBSA is identified

                                   7   as the carrier. See Barnes Decl., Ex. 1 (OPM/BCBSA Contract). The health care plan set up

                                   8   pursuant to the OPM/BCBSA contract is known as the Federal Employee Program (“FEP”).

                                   9           The FEP is funded through contributions from (1) the federal government and (2) federal

                                  10   employees who sign up for the FEP. Contributions are in the form of premiums. See 5 U.S.C. §

                                  11   8906(b); see also Goncalves, 865 F.3d at 1246 (noting that the government pays for about 75

                                  12   percent of the premiums, and the enrollee the remainder). Most of the contributions are put into a
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                                  13   Letter of Credit Account (“LOCA”) which, in turn, is located within a special fund in the U.S.

                                  14   Treasury.1 See 5 U.S.C. § 8909(a) (“There is in the Treasury of the United States an Employees

                                  15   Health Benefits Fund which is administered by the Office of Personnel Management.”); 5 C.F.R. §

                                  16   1632.170(b)(1) (“OPM will make payments on a letter of credit (LOC) basis. Premium payments

                                  17   received for the plan, less the amounts credited to the contingency and administrative reserves and

                                  18   amounts for other obligations due under the contract, will be made available for carrier drawdown

                                  19   not later than 30 days after receipt by the FEHB Fund.”).

                                  20           The money in the LOCA is ultimately used to pay for health care benefits related to the

                                  21   FEP. Both parties agree on the general payment process where pharmaceutical benefits are at

                                  22   issue. See Mot. at 7-8; Opp’n at 16-18 & n.15.

                                  23              •   BCBSA’s pharmacy benefits manager (“PBM”) invoices BCBSA for the pharmacy

                                  24                  benefit expenses.

                                  25              •   BCBSA has a FEP Operating Account (a bank account) and it transfers funds from

                                  26                  the FEP Operating Account to pay the PBM. On the same day, BCBSA draws

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                                  28     Each FEBHA Program carrier, not just BCBSA, has a LOCA. It appears that, technically, there
                                       is a separate LOCA “for each plan option” offered by a carrier. Opp’n at 2.
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                                   1                   funds from the LOCA to the FEP Operating Account to cover the cost of the

                                   2                   pharmacy benefit expenses.

                                   3               •   After paying the PBM, BCBSA internally allocates and reports the pharmacy

                                   4                   benefit expenses to the Local Blues (based on the zip codes of the members

                                   5                   receiving the prescriptions).

                                   6           For the services it provides, BCBSA is paid a subscription fee. See 5 U.S.C. § 8901(7)

                                   7   (defining “carrier” as an organization “lawfully engaged in providing, paying for, or reimbursing

                                   8   the cost of, health services . . . in consideration of premiums or other periodic charges payable to

                                   9   the carrier”) (emphasis added); 48 C.F.R. § 1652.230-70 to -71 (providing that the following

                                  10   clause shall be inserted in all community-rated and experience-rated FEHBP contracts: “OPM will

                                  11   pay to the Carrier, in full settlement of its obligations under this contract, . . . . the subscription

                                  12   charges received for the plan by the Employees Health Benefits Fund”); Barnes Decl., Ex. 1
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                                  13   (OPM/BCBSA Contract § 3.1(a)) (providing that “OPM will pay to the Carrier, in full settlement

                                  14   of its obligations under this contract, . . . the subscription charges received for the Plan by the

                                  15   Employees Health Benefits Fund”). Nothing in the record suggests the subscription fee paid to

                                  16   BCBSA is negatively affected by the (alleged) supracompetitive prices of drugs dispensed to

                                  17   federal employees enrolled in the FEP.

                                  18                                           II.      DISCUSSION

                                  19   A.      Legal Standard

                                  20           A motion to dismiss for lack of standing is brought pursuant to Federal Rule of Civil

                                  21   Procedure 12(b)(1). See Chandler v. State Farm Mut. Auto. Ins. Co., 598 F.3d 1115, 1122 (9th

                                  22   Cir. 2010) (noting that, “[b]ecause standing and ripeness pertain to federal courts' subject matter

                                  23   jurisdiction, they are properly raised in a Rule 12(b)(1) motion to dismiss”). Such a motion can be

                                  24   facial in nature or factual. See Pride v. Correa, 719 F.3d 1130, 1139 (9th Cir. 2013). Where a

                                  25   factual attack is made and a court considers only written materials, a plaintiff need only establish a

                                  26   prima facie case of jurisdiction. See Societe de Conditionnement en Aluminum v. Hunter Eng'g

                                  27   Co., 655 F.2d 938, 942 (9th Cir. 1985); cf. Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d

                                  28   1280, 1285- 86 (9th Cir. 1977) (adopting that approach where personal jurisdiction is at issue).
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                                   1   B.     Standing

                                   2          For Article III standing, a plaintiff must show: (1) an injury in fact, (2) a sufficient causal

                                   3   connection between the injury and the conduct complained of (i.e., traceability), and (3) a

                                   4   likelihood that the injury will be redressed by a favorable decision. See Lujan v. Defenders of

                                   5   Wildlife, 504 U.S. 555, 560-61 (1992). “[A] plaintiff must demonstrate standing separately for

                                   6   each form of relief sought,” Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC),

                                   7   Inc., 528 U.S. 167, 185 (2000) – “whether it be injunctive relief, damages or civil penalties.” Bates

                                   8   v. UPS, 511 F.3d 974, 985 (9th Cir. 2007).

                                   9          In the case at bar, the parties’ dispute concerns the first element above: injury in fact.

                                  10   BCBSA argues that it has suffered an injury in fact – thus giving it standing to seek damages – by

                                  11   making overpayments for the cART drugs at issue. BCBSA also argues that, because it will

                                  12   continue to be overcharged for the cART drugs unless the anticompetitive conduct is enjoined, it
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                                  13   has standing to seek injunctive relief.

                                  14          In turn, Gilead/Janssen assert that BCBSA cannot claim that it has been injured because

                                  15   BCBSA has never spent its own money for the cART drugs; rather, all money used to pay for the

                                  16   drugs has come from the government (i.e., the LOCA in the U.S. Treasury). Gilead/Janssen add

                                  17   that any alleged overpayments in the future would also be made by the government. Finally,

                                  18   Gilead/Janssen argue that the Court should reject any suggestion by BCBSA that it still has

                                  19   standing for injunctive relief because it (or the Local Blues) would have to pay out-of-pocket for

                                  20   benefits should government funds be exhausted. Gilead/Janssen maintain that this situation is

                                  21   entirely speculative given that there never has been a shortfall in the more-than-sixty years that the

                                  22   FEP has been in existence, and BCBSA’s 30(b)(6) witness (Ms. Holladay) indicated in her

                                  23   deposition that she did not see any shortfall in this year.

                                  24          In light of the Ninth Circuit’s decision in Goncalves, the Court finds Gilead/Janssen’s

                                  25   position more persuasive. In Goncalves, the Ninth Circuit discussed the relationship between the

                                  26   government (OPM), the insurance carrier (BCBSA on behalf of the Local Blues), and the health

                                  27   benefits plan (FEP). It noted as follows:

                                  28                  The government pays about seventy-five percent of the premiums,
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                                                      and the enrollee pays the remainder. See 5 U.S.C. § 8906(b). These
                                   1                  premiums are all deposited into a special fund in the U.S. Treasury
                                                      from which the carriers withdraw money to pay benefits. See id. §
                                   2                  8909(a); [Empire Healthchoice Assurance, Inc. v.] McVeigh, 547
                                                      U.S. [677,] 703 [(2006)] (Breyer, J., dissenting). But OPM, not the
                                   3                  carrier, owns the funds. At the end of the year, OPM decides how
                                                      to use any surplus in the fund. McVeigh, 547 U.S. at 703 (Breyer, J.,
                                   4                  dissenting). "The carrier is not at risk. Rather, it earns a profit,
                                                      not from any difference between plan premiums and the cost of
                                   5                  benefits, but from a negotiated service charge that the federal
                                                      agency pays directly." Id. A carrier is not acting as an insurer
                                   6                  so much as it is acting as a claims processor, serving as the
                                                      government's agent while the government takes the place of the
                                   7                  typical health insurer in hedging bets. “The private carrier's only
                                                      role in this scheme is to administer the health benefits plan for the
                                   8                  federal agency in exchange for a fixed service charge.”
                                   9   Goncalves, 865 F.3d at 1246 (emphasis added).

                                  10          Goncalves answers the question of “whose money” is used to pay benefits: it is the

                                  11   government’s, and not BCBSA’s. Notably, even BCBSA’s 30(b)(6) witness (Ms. Holladay) never

                                  12   claimed, in her deposition, that the money in the LOCA or the FEP Operating Account belonged
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                                  13   to BCBSA outright. She simply testified that that the LOCA funds could be used only for the FEP

                                  14   program and that the funds were BCBSA funds “in the sense that we are the agent for the plans

                                  15   related to the [FEP], and [BCBSA], as the agent, has access to the [LOCAs] and uses those funds

                                  16   to administer the pharmacy benefits.” Burke Decl., Ex. C (Holladay Depo. at 61); see also Burke

                                  17   Decl., Ex. C (Holladay Depo. at 63-64) (stating that “the funds in the LOCA are Blue Cross Blue

                                  18   Shield funds because they are specific to the premiums for the program[;] [p]remiums for another

                                  19   carrier in the FEHB P are not deposited into our LOCA accounts” but rather “[t]hey’re strictly the

                                  20   funds for Blue Cross Blue Shield.”).

                                  21          BCBSA argues that the Court should not credit Gonsalves because it relied on a “factual

                                  22   misstep in dicta in the McVeigh dissent.” Pl.’s Supp. Br. at 3. But even if Justice Breyer’s

                                  23   comments in his dissent in McVeigh were dicta and he made a “factual misstep,” that is beside the

                                  24   point. The Ninth Circuit in Goncalves relied on and endorsed his comments. To the extent

                                  25   BCBSA argues that the Ninth Circuit’s statements above from Goncalves also constituted dicta,

                                  26   the Court is not persuaded. It is true that the legal issue in Goncalves differed from the issue

                                  27   before the Court here. In Goncalves, the Ninth Circuit was addressing the issue of whether the

                                  28   Local Blues had properly removed a case to federal court based on the federal officer removal
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                                   1   statute. See 28 U.S.C. § 1442(a)(1) (“A civil action . . . that is commenced in a State court and

                                   2   that is against or directed to any of the following may be removed by them to the district court of

                                   3   the United States for the district and division embracing the place wherein it is pending: (1) The

                                   4   United States or any agency thereof or any officer (or any person acting under that officer) of the

                                   5   United States or of any agency thereof, in an official or individual capacity, for or relating to any

                                   6   act under color of such office . . . .”). However, the Ninth Circuit had to “understand how the

                                   7   Blues’ FEHBA plan operates and their association with the relevant federal officer, OPM” so that

                                   8   the court could assess “whether the Blues ‘acted under’ a federal officer in filing a subrogation

                                   9   lien.” Goncalves, 865 F.3d at 1245. Thus, BCBSA’s attempt to disregard the statements in

                                  10   Goncalves as dicta is not convincing. See United States v. Vongxay, 594 F.3d 1111, 1115 (9th Cir.

                                  11   2010) (taking note of Black’s Law Dictionary’s definition of dictum – i.e., a statement in an

                                  12   opinion that is “‘unnecessary to the decision in the case and therefore not precedential’”); see also
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                                  13   United States v. Crawley, 837 F.2d 291, 292-93 (7th Cir. 1988) (stating that “[w]e have defined

                                  14   dictum as ‘a statement in a judicial opinion that could have been deleted without seriously

                                  15   impairing the analytical foundations of the holding – that, being peripheral, may not have received

                                  16   the full and careful consideration of the court that uttered it”).

                                  17           BCBSA can hardly dispute that the Goncalves statements are material: In opposing this

                                  18   motion to dismiss, BCBSA repeatedly cited from a brief filed by the federal government in Health

                                  19   Care Service Corporation v. Pollitt, No. 09-38, 2010 WL 360215 (U.S. Feb. 1, 2010). Like

                                  20   Goncalves, that case also addressed the legal issue of whether a government contractor

                                  21   administering a FEBHA plan was acting under a federal officer for purposes of the federal officer

                                  22   removal statute. Although Health Care dealt with that legal issue which is not relevant to the

                                  23   instant case, BCBSA still considered the government’s brief characterizing the relationship

                                  24   between OPM, the carrier, and the FEHBA plan as significant.2

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                                       2
                                  26     Ultimately, the Supreme Court never issued a decision in Health Care because the case was
                                       dismissed pursuant to Supreme Court Rule 46.1. See Health Care Serv. Corp. v. Pollitt, 130 S. Ct.
                                  27   1574 (2010); see also Supreme Ct. R. 46.1 (“At any stage of the proceedings, whenever all parties
                                       file with the Clerk an agreement in writing that a case be dismissed, specifying the terms for
                                  28   payment of costs, and pay to the Clerk any fees then due, the Clerk, without further reference to
                                       the Court, will enter an order of dismissal.”).
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                                   1          Because it is the government’s money used to pay benefits, and not BCBSA’s, and because

                                   2   BCBSA itself has not suffered any financial loss, BCBSA is left with the argument that it still has

                                   3   standing to seek injunctive relief – i.e., given that it (or the Local Blues) underwrites the FEP,

                                   4   which thus makes it responsible for the payment of benefits should the funds in the LOCA ever be

                                   5   exhausted. But “[a] plaintiff threatened with future injury has standing to sue if the threatened

                                   6   injury is certainly impending, or there is a substantial risk that the harm will occur.” McGee v. S-L

                                   7   Snacks Nat'l, 982 F.3d 700, 709 (9th Cir. 2020). As Gilead/Janssen argue, BCBSA has failed to

                                   8   show how it has met this standard given that there has never been a shortfall in the sixty-plus years

                                   9   that the FEP has been in existence and BCBSA’s own admission that there is no expectation that

                                  10   there will be insufficient funding for benefits in 2022.

                                  11          The Court acknowledges that there is, in theory, room for an argument that the government

                                  12   (OPM) has authorized BCBSA or delegated to BCBSA the authority to file a lawsuit (in
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                                  13   particular, an antitrust suit) on its behalf. However, the Court need not address this issue (the

                                  14   parties dispute what authority the OPM-BCBSA contract gives to BCBSA) because the EPPs have

                                  15   excluded from the proposed Injunctive Relief Classes (as well as the proposed Damages Classes)

                                  16   all federal government entities. See Docket No. 694 (Not. of Mot. at 2).

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                                   1                                        III.      CONCLUSION

                                   2            Accordingly, the Court hereby grants Gilead/Janssen’s motion to dismiss BCBSA for lack

                                   3   of standing.

                                   4            As a temporary measure, the Court shall file the entirety of this order (other than the

                                   5   caption) under seal, although it notes that it is of the initial view that no part of the order need be

                                   6   filed under seal. The parties shall meet and confer to determine what part, if any, should be filed

                                   7   under seal and shall file a joint statement regarding sealing no later than a week of the date of this

                                   8   order.

                                   9            This order disposes of Docket No. 1122.

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                                  11            IT IS SO ORDERED.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: August 5, 2022

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                                  15                                                      ______________________________________
                                                                                           EDWARD M. CHEN
                                  16                                                       United States District Judge
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